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                                      UNITED ST/\ TES DISTRlCT COURT
                                      FOR TJ lE DlSTRJCT OF COLUMBIA


                                                      )
 SAIFULLAH PARACHA .                                  )
                                                      )
                 Petitioner.                          )
                                                      )
                 V.                                   )                 Ci"il Ac tion No. 04-2022 (PLf)
                                                      )
 DONALD J. TRUMP.~ al..                               )
                                                      )
                 Respondents.                         )
                                      ___ )
                                   MEMORANDUM OPINiON AND ORDER

                This matter is before the Court on respondents· October 21. 2019 mot ion to

exclude 1wo documents fro m the disco,·ery obligations imposed by the Amended Case

Msnogernent Order in this matl::r.         ~c;!::',   JJh No. 219: the Cour ·s May 30. 20 l 9 Memorandum

Opinion and Scheduling Order.~~ Dkt No. 51.5: and the Cour! ·s June l2. 20 19 Discovery

Order. ill Dkt. No. 517. f{espondcnrs · classifi ed motion is ex pane. iv. ~amera. and under seal;

it is n:: tl ec.:tcd in a nn! ice of fi ling on the public docket. See Dkt. No. 54 7. For the reasons

described below. respondents' moti on is granted.

                Section l.D of the Case Management Order. as amended. imposes on respondents

an ongoing obligation to disclose to petitioner all reasonably available e:xc ulpatory informa1ion:

Section I.E. imposes obligations lo disclose certain other documents when requested by

petitioner. ~ee Case Management Order. Dkt. No. 204. at 2-3: Amended Case Management

Order. Dkt. No. 219.       at   2· ,: Order. Dkl. :--Jo. 308, at 3 4 (revising certain prnvisiom in the Case

Management Order). llndc:r the Amended Case Managtment Order, respondents must provide

1h-:se disclosures   to   pe titioner's appropriate ly cleared counsel even if the information is




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classiticd. There is one excepti on. set fo rth in Section !.F: "lf the gol.'ernment objects         10


providing 1he petilio ner· s counsel wi1h the classified information, lhe government shall move for

an exception to discl osure:· See Dkt No. 2 I9 at .l. The Court has granted respo ndents' two

pre vio us~ filtH~ Secti on l. P mmions. $~'<;! DkL Nos. 524. 545 .

                fn the present Section 1.F u10 1im\ . re spondents seek addit ional except ions from

disclosure with rc:s pccl to tv. .·o classitie<l documents chat would 01hcrwise be discoverable under

the Court ·s June 12. 2019 Discovery Order. In that Discovery Order. the Co urt granted Mr.

Parucha.'s request that th~ re.sponden\5 be requ ired to produce ··phone or email records possc:s.sed

by re~po ndents for any phone number or cmaii address associated with Mr. Parncha:'                  lli 0kt.
No. 517 at 4. 6. Produ ction of most of these records is already complete: the. instant rnotil)n

concerns two l'C cords whose pw<luc1ion requi red additionai clearances from government

stakeholders . -~~ Motion at 2. Respondents have already provided Mr. Paracha with u cl.assitied

subs1i1u1c for the two documents. anu now s:;ek the Coun·s kave lo v,·ithhold fro111 discovery the

und erlying classified docu ments themselves. ~ee i__g_. at] .

                The United States Cmut of Appeals for the District of Columbia Circuit has

determ ined when Rcourt may 1.m!e1· production of classified in formation in a civil mauer over the

government' s objection. ,Sec AI_Qdah v•. United       Stci le s,   559 f .3d 5J9 (D .C. Cir. 2009). To order

production of such info nnation. the Coun must find (I) that ··the in forma lion ts both rdev.1m and

material .. - in the: sen~c \ha\ it is at least helpful to the petitioner·;; habeas case. i.Q. at 544; {2) thai

.. a(;cess by peticioner's counsel . .. is necc:ssary to facili tati.:: [meaningful hahcas] rc\'iew.'· id. at

545: and (3) that .. a[1ernatives to disc lo~ure would not effectively Sllbstimtl;! for unredacied

access:· i_Q. a1 547 . The: materi alit y n:qu ire1ne n1 i'.-l met only for '"infonm11ion that is exculpatory.

that undermines the re liability of other purporri.::dly ineulpatnry evidence.       Ot'   that names potenti al



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witnesses capable of providing material evidence:·         lg. at 546.   In a previous Memorandum

Opinion u 11 {he Case Management Order !lmt applies to this matter. Judge Hogau ru led tbat ..,he

Al.Pd@ framework ... is applicabl<!'' to ail of chc Guantanamo habeas petitions ~onsolidated in

\his District. See 1'1~ Guantami.rn.,.QJw _.()ernincc__Litigaijon . 634 F. Supp. 2d 17. 24 (D.D.C.

2009).

                The Court has reviewed the complt:tc and t.m-redacted versions of both o f the

documc nh al issue in the present rnotiou. respondcnls' arguments and supponing declarations.

and the classified substitute tha1the resrondcnts have alread y prod uc..!d. The Coun finds that

none of the d iJssiti cd infonnation frn m the documents that has been omi tted from the suhstitutt'

provided to Mr. Pamella is mate rial or necessary for meaningful habeas review. and that

disclos ing th e in form atio n cou!d imperil rhc nat ional securi ty of the United Stmes. The; Court

fu rther linds that the d assifo:~d substitute that responJen~ have produced lo Mr. Paracha does

provide a sufficient al ternative fo r   anof the relevan t and maiedal information in the two
documents at issue in this motion. Uncicr the .1 .1 OdaJ:i standard. the government may not be

compelled to produce the underl ying documents themselves. Se~ Motion ac 4. 8 (ident ifying the

c.:lassifo:d docL1111enls with specificity). Accordingly. it is hcre b)·

                ORDERED that responden ts' October 21. 20 19 ~~ parte mot ion.         §f~   0kt. No.

5.J?. is GRANTED: iilnd it is




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                FURTHER ORDERED !ha t respondent need not prod uce the two documents that

 arc tbe SLlbject of the motion.

                SO ORDERED.




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                                                              r AUL L  FRI ED MAN
                                                              United States Distri ct Juuge




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